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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO.:

 OLD DOMINION FREIGHT LINE, INC.,

        Plaintiff,

 v.

 BREEZER HOLDINGS, LLC,

        Defendant.


                                        COMPLAINT


        Plaintiff, Old Dominion Freight Line, Inc. (“Old Dominion”) by and through its

 undersigned attorneys, hereby files its Complaint against Defendant, Breezer Holdings,

 LLC (“Breezer”), and respectfully alleges as follows:

                                  I. Status of the Parties.

        1.     Plaintiff Old Dominion is a duly licensed and authorized motor carrier for hire

 incorporated under the laws of the Commonwealth of Virginia, with a principal place of

 business in North Carolina. Old Dominion operates as an interstate motor carrier subject

 to the jurisdiction of the Surface Transportation Board of the U. S. Department of

 Transportation.

        2.     Defendant Breezer is a Delaware limited liability company with a principal

 place of business in Deerfield Beach, Florida, all of whose members reside outside the

 States of North Carolina and Virginia. See, Atl. S. Bank v. Gunter Vill., LLC, 2009 U.S. Dist.

 LEXIS 63316 (M.D. Ga. July 23, 2009).

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                                 II. Jurisdiction and Venue.

        3.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §1332 because the

 parties are citizens of different states and the amount in controversy exceeds the sum or

 value of $75,000.00, exclusive of interest and costs.

        4.      Venue is proper in this district pursuant to 28 U.S.C. §1391(a) and (c)

 because Defendant resides in this district.

                                   III. Factual Allegations.

        5.      This matter involves an indebtedness of Defendant Breezer owed to Old

 Dominion for numerous shipments moved by Old Dominion pursuant to a Customer Pricing

 Agreement in effect with Breezer. A copy of this pricing agreement is attached hereto as

 Exhibit “A”.

        6.      Old Dominion moved freight in interstate commerce between various points

 in the continental United States for Breezer pursuant to the pricing agreement.

        7.      Breezer is in default of its obligations to Old Dominion pursuant to the pricing

 agreement. As of the time of filing this Complaint, Breezer is indebted to Old Dominion as

 follows:

        Debtor                Principal             Liq. Damages          Total Owed

 Breezer Holdings (I)         $96,987.25            $33,944.40            $130,931.65

 Breezer Holdings (II)        $31,021.58            $10,857.55            $ 41,879.13

                              GRAND TOTAL                                 $172,810.78

        8.      Unless Old Dominion receives full payment of its freight charges within 42

 days from the original invoice due date, Old Dominion is entitled to recover liquidated



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 damages in an amount equal to 35% of its unpaid receivable pursuant to the pricing

 agreement and the terms of its tariff.

        9.        More than forty two (42) days have elapsed since the latest of Old

 Dominion’s original invoice due dates. To date, Defendant has failed to remit payment and

 the entire principal indebtedness of $172,810.78 remains due and owing.

        10.      All conditions precedent to the bringing of this action have been performed,

 excused or waived.

        WHEREFORE, Plaintiff, Old Dominion Freight Line, Inc., prays:

        1.       That judgment enter in favor of Plaintiff Old Dominion Freight Line, Inc. and

 against Defendant, Breezer Holdings, LLC as follows:

        Debtor                 Principal            Liq. Damages         Total Owed

 Breezer Holdings (I)          $96,987.25          $33,944.40            $130,931.65

 Breezer Holdings (II)         $31,021.58           $10,857.55           $ 41,879.13

                               GRAND TOTAL                               $172,810.78

        2.       That Old Dominion Freight Lines, Inc. recover any and all post-judgment

 interest; and

        3.       That this Court award Old Dominion Freight Line, Inc., such other and further

 relief as this Court deems just and proper.




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                                    Respectfully submitted,

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                                          LAWRENCE J. ROBERTS, ESQUIRE
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